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                       Exhibit B
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                        IN THE UNITED STATES DISTRICT
                      COURT FOR THE NORTHERN DISTRICT
                         OF TEXAS FT. WORTH DIVISION

  ROBERT “BOB” ROSS                           §
  Plaintiff/Counterclaim Defendant            §
                                              §
                                              §
                                              §
  V.                                          §
                                              §                     Case No. 4:22-CV-00343-Y
                                              §
                                              §
  ASSOCIATION OF                              §
  PROFESSIONAL FLIGHT                         §
  ATTENDANTS, MCGAUGHEY,                      §
  REBER AND ASSOCIATES,                       §
  INC., JULIE HEDRICK, ERIK                   §
  HARRIS                                      §
  Defendants/Counterclaim Plaintiff.          §

  PLAINTIFF’S AMENDED RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
         PLAINTIFF’S CLAIMS FOR RELIEF AND BRIEF IN SUPPORT

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Plaintiff, ROBERT “BOB” ROSS, and files this, his Amended Response

to Defendants’, ASSOCIATION OF PROFESSIONAL FLIGHT ATTENDANTS (hereinafter

“APFA”), JULIE HEDRICK, AND ERIK HARRIS 12(b)(6) and 12(b)(1) Motion to

Dismiss, and as grounds for support herein would show this Honorable Court the following:



Plaintiff respectfully requests that the Court deny Defendants’ Motion to Dismiss Plaintiff’s

Claims for Relief, brought pursuant to Federal Rules Civil Procedure §§ 12(b)(1) and 12(b)(6).




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                                    I.      INTRODUCTION

       Robert “Bob” Ross (hereinafter referred to as “Plaintiff” or “Ross”), is a member in good

standing of the Association of Professional Flight Attendants union (hereinafter “APFA”) and

the Former National Treasurer. Plaintiff was charged with violations of the APFA policy after

enduring three days of arbitration hearings, and an award being issued against him declaring he

breached his fiduciary duty to the union. Plaintiff filed his complaint against McGaughey, Reber

and Associates, Inc. dba Diversified Credit Systems, APFA, the National President, Julie Hedrick,

and National Treasurer, Erik Harris, to vacate the arbitration award after discovering APFA and

the National Officers withheld documents and pertinent facts from Plaintiff, the APFA Board of

Directors, the APFA Executive Committee members, and Arbitrator Ruben Armendariz in order

to acquire an unfavorable arbitration award. Ross contends this violated his rights under the

“Member’s Bill of Rights” afforded by the Labor Management Reporting and Disclosure Act, as

well as breached the APFA Constitution, and breached the two officer’s common-law fiduciary

duties to the Plaintiff. Plaintiff asserts Defendants’ motivation was Plaintiff’s opposition to a

proposed merger of APFA with the Association of Flight Attendants-CWA, AFL-CIO (hereinafter

“AFA”).

       On or about July 21, 2022, Defendants filed a Motion to Dismiss Plaintiff’s Claims for

Relief and Brief in Support (hereinafter “Motion to Dismiss”). Defendants assert the following

arguments in their Motion to Dismiss:

           (1) Plaintiff’s claims fail to meet subject matter jurisdiction,

           (2) LMRDA provisions no longer govern any internal union matters, and

           (3) all remaining claims asserted by Plaintiff are unfounded either

               (a)   due to lack of jurisdictional basis,
               (b)   due to lack of meeting Plaintiff’s legal obligation “to exhaust the mandatory
                                                  5
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                      internal union remedies ‘prior to taking any legal action’”,
               (c)    Plaintiff failed to meet the statutory pre-requisite to filing a claim under

               §501(a) of the Labor Management Reporting and Disclosure Act, and
               (d) all other claims are preempted by the Arbitration Award.

       Defendants’ Motion to Dismiss provides misleading interpretations of the law, as well as

inconsistent interpretations of Plaintiff’s claims asserted in this case before the court. A clear

understanding of both the law and Plaintiff's position clearly show that Defendant's motion to

dismiss should be denied.

                             II.     STATEMENT OF THE CASE

       Plaintiff, Robert “Bob” Ross (“Plaintiff”) seeks damages alleging unlawful violations of

the Labor Management Reporting and Disclosure Act, 29 U.S.C. § 411, et seq. (“LMRDA”), the

Association of Professional Flight Attendants Union Constitution, and Breach of Fiduciary Duty

as provided for under Texas Common Law by Defendants APFA, JULIE HEDRICK, AND ERIK

HARRIS (“hereinafter Defendants”). APFA is a labor organization covered under the LMRDA,

29 U.S.C. §401 et seq, and 29 U.S.C. § 158, et seq. Plaintiff is a member in good standing of APFA

as defined under the LMRDA and 29 U.S.C. § 158. On or about January of 2016, the Plaintiff ran

for office within the APFA local union elections. For clarification, Robert “Bob” Ross ran for

National President Nena Martin ran for National Vice-President, and Eugenio Vargas ran for

National Treasurer.

       Plaintiff won the election, with Robert “Bob” Ross being elected President, Nena Martin

elected Vice-President, and Eugenio Vargas Treasurer (“Ross Administration”). The Ross

Administration opposed a merger of the union with AFA—another multi-airline flight attendants’

union. This created two political factions within APFA competing for power: Pro-APFA/AFA

and Anti-APFA/AFA. The individuals comprising the Pro-APFA/AFA faction undertook a course

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of conduct of retaliation and suppression to thwart the efforts of Plaintiff, as well as others within

the local union, to silence the opposition, supplement leadership, and effectuate a merger of the

two unions. Ross voluntarily stepped down from his position as National President on March 9,

2018 after negotiating and signing a transition agreement with the APFA Board of Directors

(”Transition Agreement”).        In 2020, the Hedrick Administration (a Pro-APFA/AFA

Administration) was elected to National Office.

       Plaintiff was subjected to retaliatory and oppressive actions by their union opponents and

were subjected to deliberate attempts to suppress their dissent within in the union. Specifically, but

not limited to, Plaintiff, Ross was investigated, charged, harassed, and disparaged through online

media sources intended for work purposes, his confidential Transition Agreement made public,

without his consent, unlawfully collected and credit-reported on in violation of federal law, and

forced to defend himself in an sham arbitration in which documents were withheld, and the national

officers informed the Executive Committee and the Board of Directors that an independent

accounting firm reviewed and determined that the payments made to Ross under the Transition

Agreement were miscalculated. The APFA National Officers demanded Ross pay back several

thousand they claimed he owed to APFA for these alleged overpayments. Thereafter, Ross was

charged with various violations of the APFA policy, including credit card violations, rental car

violations, reimbursement violations, payout for his sick and vacation pay, and his payments under

the Transition Agreement. The arbitration hearing was held—much of it conducted in a way that

denied Ross a fair opportunity to be heard—and an arbitration award was issued. The arbitration

award went well beyond the charges asserted against Plaintiff by framing the issue as “Did Bob

Ross, the Defendent [sic] herein violate the APFA Policy Manual and the APFA Constitution by



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engaging in malfeasance, fraud, misappropriation of funds while he was in office during the term

of April 1, 2016 to March 2, 2018. If so, what shall be the appropriate remedy?”1

         The arbitration award further states that “[t]he arbitrator finds that throughout this

proceeding, Defendant Ross intentionally and willfully ignored the provisions of the APFA Policy

Manual and thus, has violated and abused his fiduciary duty entrusted to him by the APFA

membership .”2

         The award goes beyond the initial charges asserted against Plaintiff and determines criminal

or civil violations against Plaintiff where no such violations were ever initially asserted.” 3 The

award seeks to ameliorate grievances for a family trip never taken, furniture purchases for which

Ross previously reimbursed the Union—a fact that Chinery and Lee did not dispute—and

necessary items for an APFA apartment Ross resided in while away from his CA-based residence

prior to his relocation once his children finished school. Furthermore, the award goes beyond the

scope of remedies sought in the initial charges and issues fines for charges made for various

violations. The award even cites “the independent accounting firm” that reviewed Ross’s payments

under the Transition Agreement as the basis for issuing a fine in the amount owed for the repayment

of his over-payment.4

         Plaintiff discovered that APFA officers had presented false statements to the Executive

Committee and the Board of Directors and withheld pertinent documentation during the arbitration

hearings. Attached hereto, incorporated herein and marked as Exhibit C is the Original Petition

filed by Diversified Credit against Ross in Tarrant County Justice Court, Precinct Three.5



1
  Ex. D, Ross Arbitration Award, Issued March 19, 2022 [Appendix p. 36].
2
  Ex. D, Ross Arbitration Award, Issued March 19, 2022 [Appendix p. 56].
3
  Ex. D, Ross Arbitration Award, Issued March 19, 2022 [Appendix p. 57].
4
  Ex. D, Ross Arbitration Award, Issued March 19, 2022 [Appendix pgs. 55,57].
5
  Ex. C, Pl.’s Original Petition, Tarrant County Justice Court, Precinct Three, JP03-22-DC00017757 [Appendix p. 33].
                                                              8
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Attached hereto, incorporated herein and marked as Exhibit B is the Affidavit of Nena Martin, a

former Board member, who attests to the statements made by the officers at the Board of Directors

meetings, the Executive Committee meetings, and the emails received that clearly show the

officers’ misrepresentation that the accounting firm’s review determined the incorrect per diem

was used to calculate Ross’s payments. 6 Upon being served on a debt lawsuit filed by Defendant,

McGaughey, Reber and Associates—the successor-in-interest to the Transition Agreement, Ross

discovered a letter from the APFA accounting firm that reviewed his payments under the Transition

Agreement (“Confidential Memorandum”). 7 The Confidential Memorandum clearly states that the

payments made to Ross “appear appropriate and in compliance with the transition agreement”

which conflicts with the National Officer’s statements to the APFA Board of Directors and the

Executive Committee, as well as statements relied on by the arbitrator to issue the award. 8

Plaintiff’s union representative appealed to the arbitrator upon discovering the Confidential

Memorandum, however, Plaintiff was denied the opportunity to introduce the evidence or reopen

the case.

         Plaintiff was not provided the safeguards against improper disciplinary action guaranteed

under the LMRDA. Withholding documentation and misrepresenting the facts is an unconscionable

violation to Plaintiff’s right to a fair hearing and goes beyond any rational explanation that could

meet a reasonableness standard. The result of this conduct is that Plaintiff has been unfairly fined

and disciplined by APFA’s conduct. Further, Plaintiff’s reputation has been damaged, he has been

fined, his credit report has been damaged, removed from his position on the Board of Directors as



6
  Ex. B. Aff. of Nena Martin and Email from Erik Harris to Board of Directors and Executive Committee, [Appendix pgs. 16, 18-
19].
7
  (Ex. C, Pl.’s Original Petition, Tarrant County Justice Court, Precinct Three, JP03-22-DC00017757) [Appendix p. 33].
8
  Ex. C, Pl.’s Original Petition, Tarrant County Justice Court, Precinct Three, JP03-22-DC00017757; [Appendix p. 33]; Ex. B,
Affidavit of Nena Martin, Email from Erik Harris to Board of Directors and Executive Committee [Appendix p. 19].
                                                              9
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Base President, and suspended from holding any official APFA position for the remainder of his

life. He has suffered for the past six years from on onslaught of public humiliation tactics designed,

coordinated, and executed by the Defendants. He has suffered financially and emotionally as he

has watched his wife and children suffer from the pain this has brought on their family. Plaintiff

seeks to have the arbitration award vacated, as this hearing and the resulting arbitration award are

clearly based on fraudulent conduct.

                        III.   ARGUMENTS AND AUTHORITIES
A.       Standards For Dismissal

         An FRCP 12(b)(1) motion to dismiss for lack of subject-matter jurisdiction seeks the

dismissal of the lawsuit because the court lacks the authority to hear the dispute. 9 A claim must

be dismissed, pursuant to Rule 12(b)(1), “when the Court lacks the statutory or constitutional

power to adjudicate the case.” 10 29 U.S.C. § 412 clearly states:

                      “Any person whose rights secured by the provisions of this
                      subchapter have been infringed by any violation of this subchapter may
                      bring a civil action in a district court of the United States for such relief
                      (including injunctions) as may be appropriate. Any such action against
                      labor organization shall be brought in the district court of the United States
                      for the district where the alleged violation occurred, or where the principal
                      office of such labor organization is located.”

         If a FRCP 12(b)(1) motion simply challenges the Court’s subject-matter jurisdiction based

on the sufficiency of the pleading’s allegations, then the motion is a facial attack. 11 In a facial

attack, the District Court will accept all material allegations of the complaint as true and construe

them in the light most favorable to the non-moving party.12

         In resolving the question of subject-matter jurisdiction, the District Court can refer to



9
  See generally U.S. v. Morton, 467 U.S. 822, 828, 104 S.Ct. 2769, 2773 (1984).
10
   Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998).
11
   U.S. v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994).
12
   Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 1686 (1974); Ritchie, 15 F.3d at 598; Cedars-Sinai Med. Ctr. v. Watkins,
11 F.3d 1573, 1583 (Fed. Cir. 1993).
                                                              10
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evidence outside the pleadings. 13

         A motion to dismiss for failure to state a claim upon which relief can be granted tests the

formal sufficiency of the statement of claim for relief in the Plaintiff’s complaint. 14 The motion

cannot be used to resolve factual issues or the merits of the case and is not appropriate unless the

Plaintiff’s pleadings on their face show, beyond a doubt, that the Plaintiff cannot prove any set of

facts that would entitle it to relief.15

         Rule 12(b)(6) motions are disfavored in the law, and a Court will rarely encounter

circumstances that justify granting them.16 A Court may dismiss a claim only when no relief can

be granted under any set of facts that could be proved consistent with the allegations found in the

complaint. 17 A motion to dismiss should not be granted unless it appears beyond a doubt that

Plaintiff can prove no set of facts in support of his claim that would entitle him or her to relief.18

         The claimant is not required to set out in detail the facts upon which the claim is based,

rather the rules require that the claim simply give the Defendant “fair notice”. 19 Further, a Court

may not look beyond the pleadings. 20 The Court must accept as true the allegations in the complaint

and must view the allegations in the light most favorable to the Plaintiff.21 The allegations in the

claim need only give the Defendant fair notice of the nature of the claim and the grounds on which

it rests. 22 The rules also dictate that the pleadings be liberally construed “as to substantial justice.”23

     B. Plaintiffs Have Stated Claims Upon Which Relief May Be Granted.


13
   Luckett v. Bure, 290 F.3d, 496-97 (2d Cir. 2002); Gonzalez v. U.S., 284 F.3d 281, 288 (1st Cir. 2002).
14
   Doe v. Hillsboro ISD, 81 F.3d 1395, 1401 (5th Cir. 1996).
15
   Medina-Claudio v. Rodriguez-Mateo, 292 F.3d 31, 34 (1st Cir. 2002); Hickey v. Obannon, 287 F.3d 656, 657 (7th Cir. 2002).
16
   Mahone v. Addicks Utility District of Harris County,836 F.2d 921, 926 (5th Cir. 1998).
17
   Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).
18
   Campbell v. Wells Fargo Bank, 781 F.2d 440, 442 (5th Cir. 1986).
19
   Leatherman v. Tarrant Co. Narcotics Intelligence & Coordination, 507 U.S. 163, 168 (1993).
20
   Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th Cir. 1995).
21
   Id. at 931.
22
   See Mahone, 836 F.2d at 926.
23
   Id. at 926.
                                                              11
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         (1) Plaintiff properly brought his causes of action pursuant to the Labor Management
             Reporting and Disclosure Act, 29 U.S.C. § 411, et. seq., and provided Defendants “fair
             notice” therein pursuant to Federal Rule of Civil Procedure § 8(a).


         A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure is viewed

with disfavor and is rarely granted.24 The complaint must be liberally construed in favor of the

Plaintiff, and all facts pleaded in the complaint must be taken as true. 25 Recent decisions by the

Supreme Court have elaborated on the pleading standards for civil litigation. 26

         The Supreme Court noted two “working principles” in the Iqbal and Twombly decisions.

First, while a Court must accept all factual allegations in the complaint as true, the court need

not accept a complaint’s legal conclusions as true; and second, a complaint must state a “plausible

claim for relief” to survive a motion to dismiss. 27 “A claim has facial plausibility when the Plaintiff

pleads factual content that allows the court to draw the reasonable inference that the Defendant is

liable for the misconduct alleged.”28 The court presumes factual allegations to be true, even if

doubtful in fact. 29

         Federal Rule of Civil Procedure 8(a) requires only “a short and plain statement of the

claim” showing that the pleader is entitled to relief.30 As the Supreme Court has emphasized, this

rule does not require “heightened fact pleading of specifics,”, or “detailed factual allegations.”31

         Defendants allege that Plaintiff has not stated a claim upon which relief can be granted

under the LMRDA. However, Defendants have wholly failed to provide any legal or factual basis

supporting their allegations that Plaintiff cannot state a claim upon which relief can be granted


24
   Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 725 (5th Cir. 2002).
25
   Id. at 725.
26
   See Ashcroft v Iqbal, 129 S. Ct. 1937 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).
27
   Iqbal, 129 S.Ct. at 1949-50.
28
   Id. at 1949.
29
   Twombly, 550 U.S. at 555; Lindquist v. City of Pasedena, 525 F.3d 383, 386 (5th Cir. 2008).
30
   Fed. R. Civ. P. 8(a).
31
   Twombly, 550 U.S. at 570; Iqbal, 129 S. Ct. at 1949.
                                                               12
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under the LMRDA. Defendants argue that LMRDA does not govern disputes between members

as these disputes do not classify as a disciplinary measure by the union. Plaintiff would note that

the APFA Const. Art. VII—entitled “Hearings and Disciplinary Procedures”—spells out that

members are subject to fine, suspension or expulsion, or suspension from or removal from office

for an enumerated list of violations.32 Furthermore, Art. VII, Sec. 2 creates the right for any

member in good standing to file charges against another member—however neither the

Constitution nor Policy grants APFA the right to file charges against an individual member in

pursuit of disciplinary measures.33 Once charges are filed, the National Secretary then presents

the charges to the APFA Executive Committee, who vote on whether the charges are timely, valid

and specific. The accused is then referred to an arbitrator for an arbitration hearing, which

ultimately results an award. If the award stipulates the accused member must pay fines, those

damages are collected by the union.

         In the present case, the charges were brought by two members, the Executive Committee

found the charges to be timely, valid, and specific after the National Officers misrepresented that

an accounting firm’s review of Ross’s payments under his Transition Agreement found the

payments were incorrect. 34 Following issuance of the arbitration award, the APFA National

President issued a public announcement to all membership on March 24, 2022 announcing the

arbitrations as a result of the unions publications of financial documentation; furthermore, the

arbitration awards were adopted by resolution by the APFA Board of Directors on March 8, 2022. 35

C.       Subject Matter Jurisdiction


32
   Ex. E APFA Const. Art. VII, Sec. 1 et. seq. [Appendix p. 109].
33
   Ex. E APFA Const. Art. VII, Sec. 2 et. seq. [Appendix pgs.109-110].
34
   Ex. B. Affidavit of Nena Martin and Email from Erik Harris to Board of Directors and Executive Committee [Appendix pgs. 16,
18-19].
35
   Ex. F Resolution by Board of Directors March 8, 2022 [Appendix p. 131]; Ex. G, Presidential Hotline to Membership, March
24, 2022 [Appendix pgs. 132-133].
                                                             13
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        (1) Subject Matter Jurisdiction is Conferred based on Labor Management Reporting and
            Disclosure Act, 29 U.S.C. § 411, et. seq.

        Subject matter jurisdiction exists when a federal question exists in "all civil actions arising

under the Constitution, laws, or treaties of the United States." 36 “The ‘vast majority’ of cases that

come within this grant of jurisdiction are covered by Justice Holmes' statement that a ‘suit arises

under the law that creates the cause of action.'" 37 An action "arises under" federal law if: (1)

"federal law creates the cause of action[,]" or (2) "the vindication of a right under state law

necessarily turn[s] on some construction of federal law." 38

        In the matter before this Court, the cause of action at the heart of the case are those claims

falling under the LMRDA § 411, et seq. Grounds for a cause of action are created by the federal

legislation under LMRDA, 29 U.S.C. § 412 which grants:

                   “[a]ny person whose rights secured by the provisions of this title have been infringed
                   by any violation of this title may bring a civil action in a district court of the United
                   State for such relief (including injunctions) as may be appropriate. Any such action
                   against a labor organization shall be brought in the district court of the United States
                   for the district where the alleged violation occurred, or where the principal office of
                   such labor organization is located.” 39
        The cause of action for the unfair hearing and violation of Plaintiff’s rights arises from the

federal Labor Management Reporting and Disclosure Act, thus subject matter jurisdiction is clearly

established.

     D. Arbitrator’s Decision is Subject to Review

        (1) The Arbitrator’s Decision Is Subject to Judicial Review

        Defendants contend that Plaintiff’s basis for setting aside the arbitration award is grounded

in LMRDA § 411. 40 Plaintiff filed the motion to vacate the arbitration award based on the well-


36
   28 U.S.C. § 1331
37
   Merrell Dow Pharmaceuticals Inc. v. Thompson, 478 US 804, 807 (1986) quoting Franchise Tax Board v.
Construction Laborers Vacation Trust, 463 U. S. 1, 8-9 (1983).
38
   Id. at 9
39
   29 U.S.C. § 412.
40
   Ex. A, Def’s Motion to Dismiss Pl’s Claims for Relief [Appendix p. 6].
                                                        14
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established law that arbitration awards where fraud, corruption, misconduct, or where arbitrators

exceeded their authority shall be vacated by the court. 41 The cause of action under LMRDA

§411, et seq. is rooted in the Plaintiff’s cause of action for damages because of the violation of his

rights as a union member granted thereunder. Defendants seem to confuse the two laws—one is a

means to vacate an invalid award, the other is a means to recover for damages suffered.

         Plaintiff’s claim under LMRDA are valid and properly asserted claims. The Supreme Court

coined LMRDA "the product of congressional concern with widespread abuses of power by union

leadership." 42 The question before the Breininger Court was whether the union’s actions were

considered disciplinary actions that required notice and a fair hearing under LMRDA 101(a)(5).43

The Breininger Court found that “[t]he fact that § 101(a)(5) does not prohibit union discipline

altogether, but rather seeks to provide ‘safeguards against improper disciplinary action,’

indicates that “discipline" refers to punishment that a union can impose by virtue of its own

authority over its members.”44 The case addresses the term “otherwise discipline” in the language

of LMRDA § 411 for purposes of when a union must give notice and a hearing. 45 The Supreme

Court holds that “otherwise discipline” indicates “'Congress did not intend to include all acts that

deterred the exercise of rights protected under the LMRDA, but rather meant instead to denote

only punishment authorized by the union as a collective entity to enforce its rules." 46 The statute

highlights the types of punishment as fines, expulsion, and suspension, which the Breininger Court

found required a disciplinary process rather than an ad hoc retaliation by union officials. 47 At no




41
   9 U.S.C. § 10.
42
   Finnegan v. Leu, 456 U.S. 431, 102 S.Ct. 1867, 1870, (1982).
43
   Breininger v. Sheet Metal Workers, 493 U.S. 67 (1989).
44
   Id. at 92.
45
   Id. at 92.
46
   Id. at 91.
47
   Id. at 91.
                                                              15
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point does the Breininger Court address subject matter jurisdiction. Nor does the Breininger Court

ever hold that subject matter jurisdiction did not extend to union disciplinary arbitrations.

          The Guidry Court also did not address subject matter jurisdiction issues, nor arbitration

awards regarding union procedures. 48 The Guidry Court addressed a union member’s complaint

regarding hiring hall procedures between a union and an employer that allowed the union

leadership to discretion.49 Hiring procedures of one of the Business Agent illustrated that he was

exploiting and disregarding the hiring hall procedures to enrich those union members loyal to

him—detrimentally to his opponents to silence and compel obedience. 50 Here the Court held that

under 101(a)(5) you cannot define depriving job referrals as “discipline” in which notice, and a

fair hearing is required. However, when it is done as an imposition on a union member’s free

speech, it can be prohibitive in its effective under 101(a)(1 and 101(a)(2). 51 Furthermore, the

Guidry Court held that the discipline requirement does not have to be done in the union’s name,

but if done on behalf of the union, rather than ad hoc retaliation committed by one union leader,

would still fall within the scope of 101(a)(5). 52

          The discipline complained of by the Plaintiff includes damage to his reputation, fines,

expulsion from his position as Base President, and suspension from his ability to serve as an elected

official. Furthermore, the charges were brought on behalf of and for the benefit of the union, not

for the benefit of the members that brought the charges. Considering this discipline is outlined as

regular disciplinary measures in the APFA Constitution, and proceedings were held through an

arbitration—the Plaintiff’s claim clearly meets the standards laid out by the Breininger Court.



48
   Guidry v. Int’l Union Of Operating Eng., 406, 882 F. 2d 929 (5th Cir. 1989).
49
   Id. at 933-934.
50
   Id. at 933-934.
51
   Guidry v. Int’l Union Of Operating Eng., 907 F. 2d 1491, 1493 (5th Cir. 1990).
52
   Id. at 1492-93.
                                                                16
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Plaintiff can only assume that Defendants’ counsel intended to argue that the arbitration

between two members, as provided for under APFA’s disciplinary procedures, is not considered

an internal union-conducted disciplinary proceedings regulated by LMRDA. 53                               If this is

Defendants’ argument, then this notion disregards the procedures spelled out in the APFA

Constitution, which provides that the National Secretary “shall administer Article VII

procedures.” 54 The National Treasurer oversees all financial records, production of all financial

documents, maintain computerization of financial documents, oversee all daily activities of the

APFA headquarters office and staff, and assist the National Secretary in the discharge of his

duties 55. The National President acts as the chairperson for the Board of Directors, and the

Executive Committee, and a member of both as well, and has the authority to retain and hire legal

counsel for the union.56 The Vice-President is empowered to hire counsel for members in

arbitrations and grievances and assist the National President in the discharge of all duties. 57 The

Executive Committee, comprised of all four national officers and appointees, review and vote on

whether charges are timely, specific, and valid prior to any referral of charges to arbitration. 58 The

Board of Directors, which includes all four national officers, appoint an arbitrator to preside over

the arbitration. 59

           The APFA Constitution illustrates that the only means to bring about a disciplinary action

is to file charges by an individual member against another individual member through the

arbitration process, which is overseen and conducted by the National Officers. There are no




53
   Ex. A, Defs’ Motion to Dismiss Plaintiff’s Claims for Relief and Brief in Support [Appendix p.6].
54
   Ex. E, APFA Const Art. III Sec. 6D(8) [Appendix p. 90].
55
   Ex. E, APFA Const Art. III Sec. 6E et seq. [Appendix pgs. 91-92].
56
   Ex. E, APFA Const Art. III Sec. 6 et seq. [Appendix pgs. 78, 82, 88-89].
57
   Ex. E, APFA Const Art. III Sec. 6 et seq. [Appendix pgs. 89-90].
58
   Ex. E, APFA Const Art. VII Sec. 3 et seq. [Appendix pgs. 110-111].
59
   Ex. E, APFA Const Art. VII Sec. 5 et seq. [Appendix pg. 112].
                                                                17
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provisions outlined in Art. VII of the APFA Constitution or APFA Policy that provide for APFA

to bring charges against a member on behalf of the union—the drafters of the APFA Constitution

sought to empower all members to implement discipline against one another for violations.

Furthermore, there is no provisions or measure for a member to file charges and bring an action

against an officer as an officer. The only means to file charges and pursue discipline the APFA

Constitution provides for only one member to file charges against another member. Therefore,

the only possible interpretation of the Article VII Arbitration Procedures of the APFA Constitution

as anything other than a disciplinary proceeding falling within the scope of LMRDA would

undermine the statute and frustrate its purpose—to protect members from abuse of by the

leadership.

            (2) Plaintiff’s Asserted Basis for Judicial Review of the Arbitrator’s Decision and Order
                Comports with Well-Settled Federal Labor Law Principles.

            Defendants argue that the labor law principle that an arbitrator’s interpretation of a

collective bargaining agreement is final and not subject for review by the judiciary, therefore the

arbitrator’s award in the case at issue should stand as final and binding. The review of arbitration

awards in labor cases was described by the Misco Court as “[t]he function of the court is very

limited when the parties have agreed to submit all questions of contract interpretation to the

arbitrator.” 60 Application of these ordinary contract principles falls squarely within an arbitrator’s

wide discretion to interpret and apply a collective bargaining agreement. Relying on this

interpretation for this case at issue poses three problems: (1) there is not a Collective Bargaining

Agreement at issue between Plaintiff and Defendants, (2) this interpretation frustrates the policy

and purpose behind the LMRDA and the Member’s Bill of Rights as forged by Congress, and (3)



60
     United Paper Workers International Union v. Misco, Inc., 484 U.S. 29, 36-37 108 S.Ct. 364, 371, (1987).
                                                                18
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labor law principles regarding arbitration still favor vacating arbitration awards in certain

circumstances.

         The first problem with extending the arbitrator’s authority within the case-at-issue is that

no Collective Bargaining Agreement is at issue in the current case between Plaintiff and

Defendants. “A union constitution is considered a contract between the union and its members,

and a member or members may sue the union under section 301 (a) for breach of that contract.” 61

A Collective Bargaining Agreement is one typically defined by “contracts between an employer

and a labor organization representing employees. . . .” 62

         In the case before the court, the employer, American Airlines, Inc., is not a party to the

Union Constitution, nor were they a party to the charges filed or the union’s disciplinary

procedures, or the arbitration hearing. This is governed solely by the union constitution—which

is a contract between the members and APFA. 63 Therefore, application of the labor law principle

that an arbitrator’s interpretation of a collective bargaining agreement is not appropriate here.

         The second problem with Defendants’ argument is that this approach frustrates the policy

interest behind enacting LMRDA. The LMRDA policy interest was clear upon Congress’s

enactment of the legislation: "[t]he legislative history and the extensive hearings which preceded

the enactment of the [LMRDA] abundantly evidence the intention of the Congress to prevent

union officials from" abusing their disciplinary powers.” 64 The Second Circuit Court spells out

the policy behind the Union Member’s “Bill of Rights” in saying that “Section 101 of Title I of the




61
   Wooddell v. International Bhd. of Elec. Workers, 502 U.S. 93, 101, 116 L.Ed.2d 419 (1991); United Ass'n of
Journeymen v. Local 334, 452 U.S. 615, 619-27, (1981).
62
   29 U.S.C. § 185(a).
63
   Ex. B, APFA Const. Art. I, Sec. 2 et. seq. [Appendix pgs. 41, 43, 45, 50, 64].
64
   Local Union No. 38 v. Pelella, 350 F.3d 73, 83-84 (2nd Cir. 2003) (citing Salzhandler v. Caputo, 316 F.2d 445, 449 (2d
Cir.1963)).
                                                              19
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LMRDA represents ‘[o]ne of the most significant remedial provisions of the LMRDA.’ 65 The

Union Member’s "Bill of Rights," protects members from the abusive or coercive practices of the

union's leadership. 66

         In the case before the court, expanding an arbitrator’s deference to interpretation from a

Collective Bargaining Agreement to union disciplinary arbitrations would simply stifle protections

afforded to members from abuse of power by union officials and leadership under LMRDA. The

case law, let alone Congress’s intent in creating and implementing the law simply does not support

such a broad scope of interpretation of this axiom.

         The third problem with Defendants’ arguments is that it ignores those instances in which

the courts have vacated arbitration awards even when interpreting a collective bargaining

agreement. “It is only when the arbitrator strays from interpretation and application of the

agreement and effectively ‘dispense[s] his own brand of industrial justice’ that his decision may

be unenforceable.”67 The Supreme Court in Garvey, goes on to state that ”[w]hen an arbitrator

resolves disputes regarding the application of a contract, and no dishonesty is alleged, the

arbitrator's "improvident, even silly, fact finding" does not provide a basis for a reviewing court to

refuse to enforce the award.” 68 Here, the court makes clear that when dishonesty has occurred,

vacating the arbitration award is the proper recourse. Those “decisions procured by the parties

through fraud or through the arbitrator’s dishonesty need not be enforced.” 69 Again, these cases

apply to those where the arbitration occurs because of a collective bargaining agreement. In the




65
   Pelella, 350 F. 3d 73, 84 (citing International Union, United Automobile, Aerospace and Agricultural Implement Workers of
America v. National Right to Work Legal Defense and Education Foundation, 590 F.2d 1139, 1149 (D.C.Cir.1978)).
66
   Franza v. International Brotherhood of Teamsters, Local 671, 869 F.2d 41, 44 (2d Cir.1989).
67
   Major League Baseball Players Ass'n v. Garvey, 532 U.S. 504, 507-509 (2001) (quoting Steelworkers v. Enterprise Wheel &
Car Corp., 363 U. S. 593, 597 (1960)).
68
   Major League Baseball Players Ass'n v. Garvey, 532 U.S. 504, 507-509 (2001).
69
   Misco, 484 U.S. 29 at 38-39.
                                                             20
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case before the court, dishonesty has been asserted. There is clear documentation of fraud

established by the documents attached to Plaintiff’s Original Complaint.70 Therefore, even if a

heightened standard of review were applied the arbitrator’s award at issue should still be vacated

per the labor law principles due to the Defendants’ fraud.

         E. Plaintiff’s Remaining Claims Have Merit

         (1) Jurisdictional Basis for Remaining Claims rests in Gibbs Supplement Jurisdiction.

         As previously discussed, the Supreme Court has held that “[a] suit arises under the

Constitution and laws of the United States only when the plaintiff’s statement of his own cause of

action shows that it is based upon those laws or that Constitution.” 71 Furthermore, 28 U.S.C. §1331

requirements are met when a case generally arises under federal law when that federal law creates

the cause of action.72

         State law claims asserted between the same parties, based on the same nucleus of facts that

gave rise to the cause of action which forms the basis of subject matter jurisdiction, may be heard

based on supplemental or pendent jurisdiction. In Finley, the Supreme Court reaffirmed what it

previously held in Gibbs finding that “in cases involving supplemental jurisdiction over additional

claims between parties properly in federal court, the jurisdictional statutes should be read broadly,

on the assumption that in this context Congress intended to authorize courts to exercise their full

Article III power to dispose of an ‘entire action before the court [which] comprises but one

constitutional ‘case.’’”73

         In the case before the court, subject matter jurisdiction is conferred based on federal

question because the cause of action arises out of the LMRDA, 29 U.S.C. § 412. Supplemental

70
   Ex. H, Pl’s Original Compl. [Appendix 145,147, 149-150, 157, 163].
71
   Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 6 (2003).
72
   Grable & Sons, 545 U.S. 308 at 312.
73
   Finley v. United States, 490 U. S. 545, 548 (1989) quoting Mine Workers v. Gibbs, 383 U. S. 715 (1966).
                                                              21
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jurisdiction over state law claims can be founded on the Gibbs case and its progeny of broadly

interpreting jurisdictional authority over state law claims within an action properly embedded in

federal question jurisdiction.

         (2) Exhaustion of Internal Remedies was not Required Prior to Filing Suit.

         Plaintiff is not required to exhaust internal remedies as a pre-requisite to filing suit against

the Defendants. Section 101(a)(4) of the LMRDA, 29 U.S.C. 411(a)(4), allows courts the

discretion to hear a union member claim or require a union member to exhaust his internal remedies

before filing suit.74 Exhaustion, however, is not required “when internal union remedies are

inadequate or illusory, or when the union has taken a consistent position in opposition to that of a

plaintiff, and exhaustion would therefore be futile . . . .”75

         Despite the futility of meeting a pre-exhaustion requirement, Plaintiff did exhaust his

internal remedies prior to filing suit, as Plaintiff pursued arbitration and achieved an award.

Plaintiff called witnesses that were not required to appear or that were intimidated and discouraged

from testifying on behalf of the Plaintiff during the Arbitration. Plaintiff subpoenaed documents

pertaining to the charges and put on his defense.                      Plaintiff only brought this lawsuit after

discovering that the Union and the National Officers conspired to withhold documents and mis-

informed APFA officials to achieve a guilty result.

         (3) Common Law Breach of Fiduciary Duty Claims require compliance with LMRDA §
             501(b).

         The Breach of Fiduciary Duty claims brought against the officers were asserted under

Texas Common Law, similar to the counterclaim asserted by Defendant. LMRDA § 501(a) clearly

asserts a cause of action against an officer that spends union funds or for purposes of pecuniary or

74
   See 29 U.S.C. § 411(a)(4); Hammons v. Adams, 783 F.2d 597, 603 (5th Cir.1986); Chadwick v. International Bhd. of Elec.
Workers, Local 175, 674 F.2d 939 (D.C.Cir.1982). Guidry v. Operating Engineers Local 406, 882 F. 2d 1491, (5th Cir. 1990).
75
   Verville v. Int’l Ass’n of Machinists & Aerospace Workers, 520 F.2d 615, 620 (6th Cir. 1975).
                                                             22
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personal gain. Plaintiff’s Complaint never asserted any facts regarding the officers’ conduct

pertaining to their spending of union funds, rather Plaintiff’s complaints clearly focus on the

withholding of documents, the presentation of false facts, defamation of his character, and

conspiring to defame his character. Consequently, any pre-requisite needed to comply with

LMRDA § 501(b) is moot, as no claim under LMRDA § 501(a) have been asserted.

         (4) Preemption of the Breach of Union Constitution and Breach of Fiduciary Duty claims
             cannot exist based on the Fraudulent Arbitration Award.

          Preemption of the remaining claim cannot be based on an Arbitration that were not based

on any claims brought by the Plaintiff and did not address any of the grievances or damages

Defendants imposed on the Plaintiff. The Supreme Court finds preemption of state law claims only

when the claim is dependent on interpretation of a Collective Bargaining Agreement. 76

Consequently, since no Collective Bargaining Agreement is at issue in the case before the Court,

then there is no preemption of the state law claims brought against the Defendants.

         F. Plaintiff Has Satisfied the “Fair Notice” Pleading Requirements Pursuant to
            Federal Rule of Civil Procedure 8(a).

         Federal Rule of Civil Procedure 8(a) requires only “a short and plain statement of the

claim” showing that the pleader is entitled to relief. 77 As the Supreme Court has emphasized, Rule

8 does not require “heightened fact pleading of specifics,” or “detailed factual allegations”.78

Plaintiff has provided an extremely detailed pleading outlining specific violations of the LMRDA

by Defendants. 79

         The law clearly states that the Claimant is not required to set out in detail the facts upon

which the claim is based, rather the Rules require that the claim simply give the Defendants “fair

76
   Hawaiian Airlines v. Norris, 512 U.S. 246 (1994); Martin v. American Airlines, Inc., 390 F.3d 601 (8th Cir. 2004).
77
   Fed. R. Civ. P. 8(a).
78
   Twombly, 550 U.S. at 570; Iqbal, 129 S. Ct. at 1949.
79
   Ex. H, Pl’s Original Compl. [Appendix pgs. 156-157].
                                                               23
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notice.” 80 Further, the Court must accept as true the allegations in the complaint and must view

the allegations in the light most favorable to the Plaintiff. Blackburn, at 931. The allegations in the

claim need only give the Defendant fair notice of the nature of the claim and the grounds on which

it rests. 81 The rules also dictate that the pleadings be liberally construed “as to substantial justice.”82

Plaintiff has met his burden of providing a detailed factual basis and specific statutory protections

along with specific relief.

                                    IV.      CONCLUSION AND PRAYER

         In conclusion, Plaintiff clearly plead, and sought protection and relief, pursuant to his rights

as a member of a labor organization under the LMRDA. Plaintiff alleged and asserted a detailed

factual background demonstrating how Defendants violated his rights. Plaintiff has provided

Defendant with fair notice of the allegations and facts of his claims pursuant to Federal Rule of

Civil Procedure 8(a) and the local rules of this Court. Plaintiff cited specific clauses under the

LMRDA under which their rights are protected, and relief is available. Further, Plaintiff has also

demonstrated that Plaintiff has only plead relief sought from this Court in its official capacity,

and that sound case law exists to protect his rights. For the reasons state herein, Plaintiff requests

that the Court deny Defendants’ Motion to Dismiss Plaintiff’s Claims for Relief.




80
   Leatherman v. Tarrant Co. Narcotics Intelligence & Coordination, 507 U.S. 163, 168 (1993).
81
   See, Mahone, 836 F.2d at 926.
82
   Id.
                                                             24
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                                    CERTIFICATE OF
                                       SERVICE

        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF Filing on this the 23rd Day of August 2022.

William Osborne, Margot Nikitas, Sanford Denison, Michael Rake
                                                          /s/
                                                        Heather Abreu




                                             25
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ROBERT (BOB) ROSS,                      §
                                        §
  Plaintiff/Counterclaim Defendant,     §
                                        §
              V.                        §      Civil Action No. 4:22-cv-00343-Y
                                        §
ASSOCIATION OF PROFESSIONAL             §
FLIGHT ATTENDANTS, et al.,              §
                                        §
  Defendants/Counterclaim Plaintiffs.   §




 UNION DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S CLAIMS FOR RELIEF
                      AND BRIEF IN SUPPORT



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Dated: July 21, 2022


EXHIBIT A                                                                 APPENDIX 1
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I.       INTRODUCTION

         Defendants Julie Hedrick, Erik Harris and Defendant/Counterclaim Plaintiff Association

of Professional Flight Attendants (“APFA”) (collectively, “Union Defendants”) by their

undersigned counsel, respectfully submit this Motion to Dismiss the claims for relief by Plaintiff

Robert (Bob) Ross (“Ross”) against them for lack of subject matter jurisdiction and failure to

state a claim upon which relief can be granted, as a matter of law, pursuant to Rules 12(b)(1) and

(6) of the Federal Rules of Civil Procedure (“FRCP”).1 In support of their Motion, the Union

Defendants submit this Memorandum of Law.

II.      STATEMENT OF THE CASE

         Plaintiff Ross, a member and former National President of APFA, has brought this

lawsuit against APFA and two of its current officers, National President Julie Hedrick and

National Treasurer Erik Harris, in an attempt to vacate and annul the arbitration decision and

order2, issued against him by Arbitrator Ruben Armendariz (“Arbitrator’s Decision and Order”).

The facts of the case are plain from Ross’s Complaint and attached Arbitrator’s Decision and

Order:

         Based upon internal union charges against Ross filed by two APFA members, Melissa

Chinery-Burns and Sandra Lee (“Charging Parties”), under Article VII of the APFA

Constitution, reviewed by the APFA Executive Committee and then referred for resolution to

Arbitrator Armendariz, pursuant to Article VII of the APFA Constitution, a three-day hearing



1
  This motion seeks dismissal of all of Plaintiff Ross’s claims against all Defendants herein as
asserted in his Complaint (doc.1), leaving pending APFA’s Counterclaim against Ross asserted
in the Union Defendants’ Answer and Counterclaim (doc. 8, at pgs.32-43, PAGE ID 32-43). As
individual defendants Julie Hedrick and Erik Harris are not parties to APFA’s counterclaim
against Ross, upon dismissal of Ross’s claims against the Defendants, Hedrick and Harris should
be dismissed as parties to this action.
2
    Attached as Exhibit C to the Complaint (doc.1-3, PAGE ID 35-51).

                                                1
EXHIBIT A                                                                        APPENDIX 2
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was held on the record on June 16 and November 17-18, 2021. The issues as presented to the

Arbitrator were whether Ross, when acting as the APFA National President, violated the APFA

Constitution3 and Policy Manual by engaging “in malfeasance, fraud [and] misappropriation of

funds” during his term of office as President” and whether any violations of the APFA

Constitution and Policy Manual were “willful.” Arbitrator’s Decision and Order at 2.

         During the three-day hearing, the Charging Parties called five (5) witnesses to testify in

support of their charges against Ross and Ross called three (3) witnesses in his defense.

Arbitrator’s Decision and Order at 2. Following the close of the hearing and the filing of briefs

by the parties, the Arbitrator issued his decision on March 19, 2022. Id.

         The Arbitrator concluded that Ross had “intentionally and willfully ignored the APFA

Policy Manual and thus has violated his fiduciary duty as entrusted by the APFA membership.”

Arbitrator’s Decision and Order at 22 (emphasis in original). He further observed that “Ross’s

testimony was inconsistent and not forthright,” that Ross “should be prohibited from serving in

any official position for life within the APFA organization,” and that he be required to resign

from any positions within APFA that he currently held. Arbitrator’s Decision and Order at 23-24.

         As further remedies, the Arbitrator ordered that APFA assign an auditor to review Ross’s

expenses as submitted to APFA including credit card, rental car, and mileage; that Ross repay

APFA for any inappropriate expenses he had submitted as determined by the auditor; that Ross

repay APFA for additional specific amounts for erroneous vacation and apartment leasing; and

that he repay APFA for both the auditor’s fees and the Arbitrator’s fee. Arbitrator’s Decision and

Order at 24. The Arbitrator has retained jurisdiction over compliance with the remedial issues in

the case. Id.



3
 The relevant provisions of the APFA Constitution and Policy Manual are restated in the
Arbitrator’s Decision and Order at 4-7.

                                                  2
EXHIBIT A                                                                          APPENDIX 3
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         Plaintiff Ross then filed this lawsuit against APFA and its National President and

National Treasurer—none of whom were parties to the Ross arbitration proceeding. The

Complaint asserts federal subject matter jurisdiction to support Ross’s claims: diversity of

citizenship, Section 102 of the Labor-Management Reporting and Disclosure Act, 29 U.S.C.

§402, and the Fair Credit and Reporting Act, 15 U.S.C. §1681. Complaint, paras. 1-2, 8-10.

         Plaintiff Ross’s specific claims for relief against the Union Defendants are:

         1. To vacate the Arbitrator’s Decision and Order as purportedly violative of the Federal
             Arbitration Act, Complaint paras. 39-42;
         2. To vacate the Arbitrator’s Decision and Order as purportedly violative of LMRDA
             Section 101(a)(5), Complaint paras. 57-50;
         3. Alleged violations of the APFA Constitution, Complaint, paras. 60-66;
         4. Alleged breach of Ross’s employment contract, Complaint, paras. 69-77; and
         5. Other allegations: alleged violation of the Fair Credit Reporting Act, Complaint,
             paras. 67-69; defamation, intentional infliction of emotional harm, breach of fiduciary
             duty. Complaint, paras. 85-89.
         In its answer to the Complaint, APFA filed a Counterclaim4 against Ross for enforcement

of the Arbitrator’s Decision and Order and for breach of Ross’s fiduciary duties as APFA

National President as determined by the Arbitrator in his Decision and Order.5

         As we now show, Ross’s claims for relief should all be dismissed. Under well settled

precedent, there is no subject matter jurisdiction for Ross’s claims under either the Section

101(a)(5) of the LMRDA or the Fair Credit Reporting Act. Moreover, none of the allegations in

the Complaint asserts a claim upon which relief can be granted again as a matter of law.

Dismissal of Ross’s baseless claims against the Union Defendants will leave APFA’s

Counterclaim against Ross for enforcement of the Arbitrator’s Decision and Order and breach of



4
    Doc. 8, at pgs.32-43, PAGE ID 32-43.
5   See Exhibit C to the Complaint (doc.1-3, PAGE ID 35-51).

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EXHIBIT A                                                                          APPENDIX 4
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fiduciary duty to be resolved by the Court.

III.   STANDARD OF REVIEW

       FRCP 12(b)(1) requires dismissal of any claim over which federal courts lack subject

matter jurisdiction. If the court determines that it lacks subject matter jurisdiction, it must dismiss

the action. FRCP 12(h)(3). A court may find subject matter jurisdiction is lacking from “(1) the

complaint alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or

(3) the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam).

       “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction. Accordingly, the plaintiff constantly bears the burden of proof that jurisdiction does

in fact exist.” Ramming, 281 F.3d at 161 (citation omitted). When a Rule 12(b)(1) motion is filed

in conjunction with other Rule 12 motions, the court should consider the Rule

12(b)(1) jurisdictional attack before addressing any attack on the merits. Id. (citing Hitt v. City

of Pasadena, 561 F.2d 606, 608 (5th Cir.1977) (per curiam)).

       With regard to dismissal under Rule 12)b)(6), this Court recently summarized the

relevant precedents in Oliver v. Univ. of Texas Sw. Med Sch., 2019 U.S. Dist. LEXIS 21289,

2019 WL 536276 at *16-17 (2019) (J. Boyle):

           In considering a Rule 12(b)(6) motion to dismiss, "[t]he court accepts all well-
           pleaded facts as true, viewing them in the light most favorable to the plaintiff."
           In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007). The
           court will "not look beyond the face of the pleadings to determine whether relief
           should be granted based on the alleged facts." Spivey v. Robertson, 197 F.3d
           772, 774 (5th Cir. 1999). To survive a motion to dismiss, a plaintiff must plead
           "enough facts to state a claim to relief that is plausible on its face." Bell Atl.
           Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929
           (2007). "Threadbare recitals of the elements of a cause of action, supported by
           mere conclusory statements, do not suffice." Ashcroft v. Iqbal, 556 U.S. 662,
           678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). "A claim has facial plausibility
           when the plaintiff pleads factual content that allows the court to draw the
           reasonable inference that the defendant is liable for the misconduct alleged." Id.
           "The plausibility standard is not akin to a 'probability requirement,' but it asks

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           for more than a sheer possibility that a defendant has acted unlawfully." Id.
           When well-pleaded facts fail to achieve [*17] this plausibility standard, "the
           complaint has alleged—but it has not shown—that the pleader is entitled to
           relief." Id. at 679 (internal quotation marks and alterations omitted).

In addition, the court may consider documents attached to the complaint in considering a

motion under Rule 12(b)(6) if they are referred to in the plaintiffs’ complaint and are central

to the plaintiff’s claims. Scanlan v. Tex. A&M Univ., 343 F3d 553, 536, (5th Cir. 2003).

IV.    ARGUMENT

           A. The Arbitrator’s Decision Is Not Subject to Judicial Review Under LMRDA
              Section 101(a)(5)

       The entire jurisdictional basis for Ross’s allegation that the Arbitrator’s Decision and

Order should be vacated is LMRDA Section 101(a)(5) (Complaint, paras. 57-59) an allegation

that is baseless as a matter of law. To the contrary, it is well settled that LMRDA Section

101(a)(5) provides subject matter jurisdiction for judicial review of internal, union-conducted

disciplinary proceedings but not subject matter jurisdiction for judicial review of other union-

related administrative or legal matters such as the third-party arbitration award in this case.

Breininger v. Sheet Metal Workers Local 6, 493 U.S. 67, 92-94 (1989); Guidry v. ;Operating

Engineers Local 406, 907 F.2d 1491, 1492 (5th Cir. 1990); Webster v. United Auto Workers

Local 5, 394 F. 3d 436, 441 (6th Cir. 2005); Hackenburg v. Boilermakers, 694 F. 2d 1237, 1239

(10th Cir. 1982); Bass v. Int’l Bro. of Boilermakers, 630 F. 2d 1058, 1066 (6th Cir. 1980); Kirk v.

Transport Workers Union, 934 F. Supp. 775, 785 (S.D. Tex. 1995); Ryals v. ILA Local 1771, 33

F. Supp. 3d 634, 639-40 (D.S.C. 2014).

       In other words, because there is no subject matter jurisdiction under or LMRDA Section

101(a)(5), the only jurisdictional bases cited in the Complaint as support for a challenge to the




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Arbitrator’s Decision and Order, any and all claims in the Complaint for vacation of the

Arbitrator’s Decision and Order must be dismissed for lack of jurisdiction. See FRCP 12(b)(1).6

           B. Plaintiff’s Asserted Basis for Judicial Review of the Arbitrator’s Decision
              and Order Violates Settled Federal Labor Law Principles

       Even assuming, for purposes of argument only, that Ross has asserted a viable

jurisdictional basis in the Complaint to support his challenge to the Arbitrator’s Decision and

Order, the Complaint fails to state a claim for which relief can be granted because, on its face,

that claim violates the federal labor law axiom requiring judicial deferral to final and binding

labor arbitration decisions. United Steelworkers of Am. v. Enterprise Wheel & Car Corp., 363

U.S. 593, 597-99 (1960); Delek Ref. Ltd. v. Local 202 Steelworkers, 891 F. 3d 566, 570 (5th Cir.

2018); Weber Aircraft v . IBT Local 767, 253 F.3d 821, 824 (5th Cir. 2001); Refresco Bevs.v.

Teamsters Local 997, 2021 U.S. Dist. LEXIS 238421, 2021 WL 5908988 at *7-8 (N.D. Tex.

2021) (J. O’Connor); Teamsters Gen. Drivers Warehousemen v. Greif Packaging, LLC, 2010

WL 1417889, at *7 (S.D. Tex. Apr. 7, 2010) (J. Atlas); Allied Waste Systems Inc. v. Teamsters

Local 767, 2007 U.S. Dist. LEXIS 43035, 2007 WL 1703634 (N.D. Tex. 2007) (J. Means).

       The Fifth Circuit recently summarized the restrictive standard of judicial review of labor

arbitration decisions in its unpublished decision in Ball Metal Container Corp. v. United Auto

Workers Local 129, 2022 U.S. App. LEXIS 33214, 2022 WL 340573 at *7-8 (5th Cir. 2022):

       "Judicial review of arbitration awards is severely limited." "The standard for this
       review is 'among the narrowest known to the law.'" When an arbitration award

6
  Although Ross does not assert the Federal Arbitration Act (“FAA”) as a basis for subject
matter jurisdiction for judicial review and vacation of the Arbitrator’s Decision and Order
(Complaint, Paragraph 2-3, 7-8), the Complaint does allege that the Decision and Order violates
the FAA. Complaint, paras. 39-42. Any assertion of subject matter jurisdiction under the FAA
would be erroneous as a matter of law. Precedent is well settled to the contrary: the FAA does
not provide subject matter jurisdiction to review arbitration awards. Smith v. Rush Retail Ctr.,
Inc., 291 F. Supp. 2d 479, 487 (W.D. Tex. 2003) (citing authorities), aff’d 360 F. 3d 504, 505
(5th Cir. 2004); Mellado v. MBNA Am. Bank, 2004 U.S. Dist. LEXIS 25471, 2004 WL 2937224
at *3-4 (N.D. Tex. 2004) (J. Lynn); Judd v. Texakoma Fin., Inc., No. 3:96-CV-26 04-P, 1996
WL 734940, at *4 (N.D. Tex. Dec. 11, 1996) (J. Solis).

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         settles a labor dispute, judicial review is "particularly constrained." "The reasons
         for insulating arbitral decisions from judicial review are grounded in the federal
         statutes regulating labor-management relations," which "reflect a decided
         preference for private settlement of labor disputes without the intervention of
         government."

         Under this unusually deferential standard of review, "courts are not authorized to
         reconsider the merits of an award." "Because the parties 'bargained for the
         arbitrator's construction of their agreement,' an arbitral decision 'even arguably
         construing or applying the contract' must stand, regardless of a court's view of its
         (de)merits. Instead of assessing how well the arbitrator interpreted the
         contract, [*8] we ask if the arbitrator acted within the contract's bounds. "[A]n
         arbitrator is confined to interpretation and application of the collective bargaining
         agreement; he does not sit to dispense his own brand of industrial justice."

         To determine whether arbitrators have overstepped their authority, "courts apply
         the 'essence test,' evaluating whether the arbitration award 'ha[s] a basis that is at
         least rationally inferable, if not obviously drawn, from the letter or purpose of the
         collective bargaining agreement.'" "[W]here the arbitrator exceeds the express
         limitations of his contractual mandate, judicial deference is at an end." In these
         situations, "an arbitrator is no longer applying or interpreting the agreement but
         rewriting it," and we will vacate the award. "Where 'there is ambiguity as to whether
         an arbitrator is acting within the scope of his authority,'" however, "'that ambiguity
         must be resolved in favor of the arbitrator.'" (Footnotes and citations omitted).

See also Allied Waste Systems Inc. v. Teamsters Local 767, 2007 U.S. Dist. LEXIS 43035, 2007

WL 1703634 at *19-21 (N.D. Tex. 2007) (J. Means) (awarding attorneys fees as remedy for

baseless attempt to vacate arbitration award).7

         Nowhere in the Complaint does Ross allege, much less assert any specific citation for any

contention, that the Arbitrator exceeded his authority or violated the express terms of his

jurisdiction under the governing provisions of Article VII of the APFA Constitution. Indeed, his

objections are entirely limited to the merits of the charges and to the procedural conduct of the

hearing. Complaint, paras. 39-42. Nor did Ross make any such jurisdictional argument to the




7
 The same “exceedingly deferential” standard of review of arbitration awards governs cases
which, unlike the instant case, are subject to judicial review under the FAA. Lalo LLC v. Hawk
Apparel, Inc., 2022 U.S. Dist. LEXIS 72218, 2022 WL 1173801 at *5-7 (N.D. Tex. 2022) (J.
Lindsay).

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EXHIBIT A                                                                           APPENDIX 8
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Arbitrator during or after the hearing. Arbitrator’s Decision and Order at 8-13. Ross’s attempt to

persuade the Court to vacate the Arbitrator’s Decision and Order thus fails on this independent

legal basis.

         As the Tenth Circuit Court of Appeals put it well, “[b]ecause arbitration presents such a

`narrow standard of review,' [28 U.S.C.] Section 1927 sanctions are warranted if the arguments

presented are `completely meritless'" [citation omitted] [and] to underscore the point that

unjustified, protracted attempts to vacate arbitration awards . . . will not be tolerated [one] does

so at the risk of being sanctioned.” DMA Inter., Inc. v. Qwest Comm. Inter., Inc., 585 F3d

1341,1345-46 (10th Cir. 2009). 8

         C.     Plaintiff’s Claims for Violation of the APFA Constitution and Breach of
                Fiduciary Duty Are Without Merit

         The breach of the APFA Constitution and breach of fiduciary duty allegations (which the

Union Defendants assume refers to an alleged violation of LMRDA Section 501, 29 U.S.C.

§501) are likewise subject to dismissal again as a matter of law.

         First, Ross has neglected to assert any specific jurisdictional basis for either claim.

         Second, relief is precluded, again as a matter of law, because, under the APFA

Constitution and settled precedent, Ross was legally obligated to exhaust the mandatory internal

union remedies “prior to taking any legal action,” Clayton v. International Union, 451 U.S. 679,

692 (1981); Hayes v. Brotherhood of Ry. & Airline Clerks, 727 F.2d 1383, 1385-86 (5th Cir.),

cert. denied 469 U.S. 953 (1984). In other words, if he had any valid claims against National

President Hedrick or National Treasurer Harris, he could have brought them internally under



8
  Ross’s attempt to vacate the Arbitrator’s Decision and Order likewise violates the settled
doctrine of judicial noninterference in internal union governance. Ford Motor Co. v. Huffman,
345 U.S. 330, 338 (1953); Carr v. ALPA, 866 F.3d 597, 602-03 and n.16 (5th Cir. 2017); O'Neill
v. Air Line Pilots Ass'n, 939 F.2d 1199, 1206 (5th Cir. 1991); Newell v. IBEW, 789 F.2d 1186,
1189 (5th Cir. 1986).

                                                   8
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Article VII of the APFA Constitution, but he did no such thing and his failure to do so is grounds

for dismissal of his claims under FRCP12(b)(6).9

         Third, before filing a breach of fiduciary duty claim (which we assume is intended as an

LMRDA Section 501(a) claim), Ross was required by Section 501(b) to make a demand for

remedial action by the APFA. Adams-Lundy v. Ass’n of Prof. Flight Attendants, 844 F. 2d 245,

248-49 (5th Cir. 1988); Van Elder v. Amalgamated Transit Union Local 1338, 2014 U.S. Dist.

Lexis 63202, 2014 WL 1808079 at *10-11 (N.D. Tex. 2014) (J. Horan). Once again, Ross did

not even attempt to comply with this mandatory statutory prerequisite and his breach of fiduciary

duty claim fails to state a claim for relief on its face.

            D. Ross’s Remaining Claims Are All Preempted

         Finally, the remaining allegations in Ross’s Complaint fail, again as a matter of law, on

preemption grounds: the underlying allegations are all “inextricably intertwined” with Ross’s

challenge to the merits of the Arbitrator’s Decision and Order and are therefore preempted.

Woodcock v. Marathon Petroleum, 2019 U.S. Dist. LEXIS 66447, 2019 WL167618187 at *5-6

(S.D. Tex. 2019) (“Preemption occurs when a decision on the [nonlabor] claim is inextricably

intertwined with consideration of the terms of the labor contract or when the application of state

law to a dispute requires interpretation of the collective-bargaining agreement.” Thomas v. LTV

Corp., 39 F. 3d 611, 615-16 (5th Cir. 1994). See also Blanks v UAW, 837 F. Supp. 2d 609, 616

(N.D, Tex. 2011), (J. Means), aff’d 464 Fed. Appx. 284 (5th Cir. 2012). 10



9
 Likewise, as a matter of law, any and all claims by Ross against National President Hedrick and
National Treasurer Harris are void on their face. As union officers they are not proper
Defendants in any case. Atkinson v. Sinclair Reﬁning Co., 370 U.S. 238, 247-49 (1962);
Complete Auto Transit, Inc. v. Reis, 451 U.S. 401, 406-07 (1981); Universal Communications
Corp. v. Burns, 499 F.2d 691, 693-94 (5th Cir. 1971).
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  Ross’s additional claims are “inextricably intertwined” with the arbitration proceedings in this
case: his claim against APFA for alleged violation of the Fair Credit Reporting Act (Complaint,

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           Here, the governing “labor contract” under Section 301(a) of the Labor-Management

Relations Act, 29 U.S.C. §185(a), is the APFA Constitution, not a collective bargaining

agreement. United Ass’n of Journeymen v. Local 334, 452 U.S. 615, 622 (1981); Wooddell v.

Int’l Bhd. of Elec. Workers, 502 U.S. 93, 99, 101 (1991); Hampton v. Int’l Longshoreman’s

Ass’n, 2017 U.S. Dist. LEXIS 218154 at *5-6 (S.D. Tex. 2007). But the legal principle of

federal preemption and the outcome are the same.

      V.       CONCLUSION

           For the reasons stated, the Union Defendants respectfully submit that all of Ross’s claims

for relief in the Complaint must be dismissed for lack of subject matter jurisdiction under FRCP

12(b)(1) and also for their failure to state a claim for relief as a matter of law under FRCP

12(b)(6), leaving APFA’s Counterclaim for enforcement of the Arbitrator’s Decision and Order

and for Ross’s breach of fiduciary duty as an APFA officer to be resolved by the Court.

Individual defendants Julie Hedrick and Erik Harris, upon dismissal of all claims against them by

Plaintiff Ross, should also be dismissed as parties to this action as they are not parties to the

remaining counterclaim by APFA against Ross.




paras. 67-69) relates directly to, and seeks to challenge and interfere with APFA’s efforts to
collect moneys owed by Ross under the Arbitrator’s Decision and Order and invades the
Arbitrator’s continuing jurisdiction over the remedial issues in this case. Arbitrator’s Decision
and Order at 23. His claim of intentional infliction of emotional distress (Complaint, paras. 81-
84) is expressly based on presentations made to the Arbitrator during the arbitration hearing and
seeks to collaterally attack the Arbitrator’s rulings. His defamation and interference with
contract allegations (Complaint, paras 85-89) likewise directly relate to, and implicitly attempt to
relitigate the merits of the Arbitrator’s Decision and Order. Id. Finally, although Ross’s
allegations against Defendant Diversified Credit Systems (“Diversified”) (Complaint, paras. 4,
78-80) are not addressed to the Union Defendants, they are also directed to interfere with efforts
to enforce the Arbitrator’s remedy and violate with the Arbitrator’s continuing remedial
jurisdiction, and are therefore also preempted.
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                               CERTIFICATE OF SERVICE

       I certify that on this _21st day of July 2022 a true and correct copy of the foregoing

document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant

Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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                                            SANFORD R. DENISON




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                                                              APPENDIX 17
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                                                              APPENDIX 22
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                                                              APPENDIX 23
                                                                                                               FILED
                                                                                                  1/14/2022 11:48 AM
                                                                                     Justice of the Peace, Precinct 3
                                                                                                      Tarrant County
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                                                   JP03-22-DC00017757
                                    NO.




DIVERSIFIED CREDIT SYSTEMS,                            §     IN THE JUSTICE        0F THE PEACE
ASSIGNEE FOR THE "ASSOCIATION                          §     COURT
OF PROFESSIONAL FLIGHT                                 §
ATTENDANTS"                                            §
Plaintiff,                                             §
                                                       §
V.                                                     §     NO. 3
                                                       §
ROBERT (BOB) ROSS                                      §
Defendant.                                             §     TARRANT COUNTY, TEXAS

                                  PLAINTIFF'S ORIGINAL PETITION

T0 THE HONORABLE JUDGE 0F SAID COURT:
         NOW COMES Diversied               Credit Systems, Assignee Of a cont-act (Agreement)                              'om

the Association     of Professional Flight Attendants, hereinafter called Plaintiff, complaining of and

about Robert (Bob) Ross, hereinafter called Defendant, and for cause          of action shows                           unto the

Court the following:

                                DISCOVERY CONTROL PLAN LEVEL
         1.       Plainti'    intends that discovery be conducted under Discovery Level 3.

                                        PARTIES AND SERVICE
         2.       Plainti‘,    Diversied    Credit Systems (a D/B/A of McGaughey, Reber and

Associates,   1110.),   Assignee for the "Association of Professional Flight Attendants", is a business

entity operating in the State of Texas and whose address is P.O. Box 3424, Longview,                                        TX
75606.

         3.      Diversied       Credit Systems, Assignee of the Association of Professional Flight


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 EXHIBIT C                                                                           APPENDIX 24
